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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK


 IN RE:                                                  Case No. 18-42802-NHL

 NORTHFIELD 30 CORP.

                       DEBTOR.


 JDP MORTGAGE, LLC,                                      Adv. Pro. No. 19-01092-NHL

                       PLAINTIFF,

 -against-

 NORTHFIELD 30 CORP., A&Q ESTATES
 INC.,   ELI  AVI   COHEN,    GRAY
 WILBERFORCE, YANAY SHARAN A/K/A
 SHARAN YANAY, and DAVID COHEN
 A/K/A DAVID COHAN A/K/A ELI COHEN
 A/K/A ILAN DAVID AVITSEDEK,

                       DEFENDANTS.



                    ORDER FOR REDACTION OF FILED PLEADING
         Upon the motion (“Motion”) of JDP Mortgage, LLC, the above-captioned Plaintiff (the

“Plaintiff”) dated July 11, 2019 [ECF No. 2], for an order directing the Clerk of this Court to

remove and replace an unintentionally filed document containing personal identifying

information; and after due deliberation and good and sufficient cause appearing therefor, it is

hereby

         ORDERED, that the Clerk of this Court shall remove the pleading filed within the

Adversary Proceeding as Document No. 1 and Bankruptcy Proceeding Document No. 44 that is

identified as “Attachments: #1 Exhibit Ex A - SmartLinx Report”; and it is further




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       ORDERED, that the Clerk of this Court, in place of the removed document, shall file on

the docket the document annexed to the Motion as “Attachments: # (1) Exhibit Redacted #1

Exhibit Ex A - SmartLinx Report.”




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 Dated: July 12, 2019                                           Nancy Hershey Lord
        Brooklyn, New York                                 United States Bankruptcy Judge


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